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     UNITED STATES V. MATTHEW JASON BEDDINGFIELD

                    Case No.: 22-CR-66 (CJN)




                   Exhibit C – Character Letter


                          Jessica Keefe
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01/24/2023



To whom it may concern:



         I’m writing this letter on behalf of Matthew Beddingfield. Mr. Beddingfield started working for
1-888-PIK-IT-UP on Aug 18, 2021. He has been a great employee, always on time and if he needed a day
off, he requested in advance. For the almost 18 months that he worked for us he never called out sick
nor did he no show for work. Our work schedule varies daily but normal hours are around 7am to 5pm
Monday through Friday. During spring and summer months the days can last a little longer. On average
weekly hours will range from 30-45 depending on how many appointments we have scheduled. Mr.
Beddingfield would resume making the salary of $14.50. He started off at $12.50 per hour and received
several raises since he started working, for performance and reliability.

        Mr. Beddingfield’s duties consisted of driving our 12-foot dump truck and removing junk from
residential and commercial properties. The majority of our jobs are commercial, apartment
communities. Mr. Beddingfield would remove large bulk and misc trash that was left around the
dumpsters as well as cleaning out vacated apartments when requested by the property manager. There
were several occasions that I received positive feedback from residential customers regarding
Matthew’s professionalism and courteousness. There are always have two employees in the truck, one
driver and one helper. Employees have access to a cell phone as they require it for directions,
appointment schedule, to take photos of items removed from commercial clients for invoicing, and for
clocking in and out.

        With the current economy we are finding it extremely hard to hire or even have someone show
up for a scheduled interview. Keeping Matthew would allow our company to remain a two-truck team.
We at 1-888-PIK-IT-UP would be happy to continue Mr. Beddingfields employment in the event of his
ongoing work release.



Sincerely,



Jessica Keefe
1-888-PIK-IT-UP
jessica@888pikitup.com
919-261-6727
